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           Carolyn Smith, et al. v. Jefferson
              County, Mississippi, et al.

                             Shaquita McComb

                               April 18, 2025




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                                   EXHIBIT 2
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                                                                         Page 1
                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

            CAROLYN SMITH, ET AL
                                                                 PLAINTIFFS

            V.               CIVIL ACTION NO. 5:24-CV-0072-DCB-ASH

            JEFFERSON COUNTY,
            MISSISSIPPI, ET AL
                                                                 DEFENDANTS


                        DEPOSITION OF SHAQUITA MCCOMB


           Taken at the instance of the Defendants at the Law
             Offices of Carroll Rhodes, 119 Downing Street,
                Hazlehurst, Mississippi 39083, on Friday,
                             April 18, 2025,
                         beginning at 10:18 a.m.




                                    REPORTED BY:
                         ROBIN G. BURWELL, CCR #1651



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                                                 Page 2                                                      Page 4
     1    APPEARANCES:                                        1                  SHAQUITA MCCOMB,
     2
     3      CARROLL RHODES, ESQ.
                                                              2      having been first duly sworn, was examined and
            Law Offices of Carroll Rhodes                     3      testified as follows:
     4      Post Office Box 588                               4      EXAMINATION BY MR. CARPENTER:
            Hazlehurst, Mississippi 39083
     5      crhode@bellsouth.net
                                                              5          Q. Ms. McComb, I'm Tom Carpenter. I
     6                                                        6      represent the Sheriff and the County. And we
               COUNSEL FOR PLAINTIFF                          7      probably -- like I said, because there were some
     7
     8                                                        8      special questions that Lieutenant Smith had
            THOMAS L. CARPENTER, ESQ.                         9      regarding the confidential position, we don't have
     9      Wise, Carter, Child & Caraway                    10      those so we can probably move a bit faster. We're
            2510 14th Street, Suite 1125
     10     Gulfport, Mississippi 39501                      11      on track for 11:00. So I can probably cut through
            tlc@wisecarter.com                               12      a lot of stuff because you were here to hear what
     11                                                      13      Ms. Smith heard. So, you understand everything up
     12        COUNSEL FOR DEFENDANT
     13                                                      14      to that point, correct?
          ALSO PRESENT:                                      15          A. Yes.
     14
            Carolyn Smith
                                                             16          Q. You got it.
     15     Bonita Blake                                     17              MR. CARPENTER: And so, reading and
            Sandra Sanders                                   18      signing, yes?
     16     James Ellis, Jr.
     17
                                                             19              MR. RHODES: Yes.
     18                                                      20              MR. CARPENTER: Okay. Usual
     19                                                      21      stipulations?
     20
     21                                                      22              MR. RHODES: Yes.
     22                                                      23          Q. (By Mr. Carpenter) What is your full
     23                                                      24      name, Ms. McComb?
     24
     25                                                      25          A. Shaquita McComb.


                                                 Page 3                                                      Page 5
      1                        INDEX                          1          Q. And what is your address?
      2     Style.......................................1     2          A. 1040 Albert Lane, Port Gibson,
      3     Appearances.................................2     3      Mississippi.
      4     Index ....................................3       4          Q. Is that in Adams County?
      5     Certificate of Deponent ..................63      5          A. It's Claiborne County.
      6     Certificate of Court Reporter .............64     6          Q. And how long have you lived there?
      7                     EXAMINATIONS                      7          A. About -- going on 13 years now.
      8     Examination By Mr. Carpenter ...............4     8          Q. Got it. So during the period of time
      9     Examination By Mr. Rhodes .................58     9      you worked -- and I'm going to make it even easier
     10     Examination By Mr. Carpenter ..............60    10      -- "The Facility", the Jefferson Franklin
     11                       EXHIBITS                       11      Correctional Facility, but Facility. You were
     12     Exhibit 4 Photos ..........................18    12      living in Port Gibson at the time?
     13     Exhibit 5 Medical Records .................38    13          A. No, I was living in Union Church,
     14                                                      14      Mississippi.
     15                                                      15          Q. So when did you move to Port Gibson?
     16                                                      16          A. I'm going to say -- when did I move to
     17                                                      17      Port Gibson? It was like in -- can't remember
     18                                                      18      exactly what year.
     19                                                      19          Q. Okay. Has it been in the past couple of
     20                                                      20      years or a while ago?
     21                                                      21          A. Past couple of years.
     22                                                      22          Q. Gotcha.
     23                                                      23             Okay. Before we get started, because
     24                                                      24      we've got a bunch of questions.
     25                                                      25             MR. CARPENTER: Okay. Carroll, can I


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      1   catch you for a second?                           1          A. Yes.
      2          (Off the record.)                          2          Q. Okay. When did you -- when was your
      3      Q. (By Mr. Carpenter) Ms. McComb, where do     3      first tenure at the Facility?
      4   you work?                                         4          A. I'm thinking 2012, when Sheriff Walker
      5      A. I'm a substitute teacher at the             5      was there.
      6   Jefferson County Elementary School. School        6          Q. Right.
      7   district.                                         7          A. And I think -- I'm not for sure what
      8      Q. And how much do you get paid per hour or    8      date.
      9   per day?                                          9          Q. Fair enough.
     10      A. $60 a day.                                 10              Why did you leave the facility under
     11      Q. And how many days in a month do you        11      Sheriff Walker?
     12   work?                                            12          A. I got terminated.
     13      A. Probably about 15.                         13          Q. Gotcha.
     14      Q. Okay.                                      14              And what that was for?
     15      A. Nine days. Depends on if a teacher's       15          A. They said -- how did they put it?
     16   out.                                             16      Something dealing with my car insurance.
     17      Q. Gotcha.                                    17          Q. Okay. Was that Sheriff Walker that
     18          Do you have another job?                  18      terminated you?
     19      A. No.                                        19          A. Yes.
     20      Q. Okay. Are you looking for other work?      20          Q. And when -- where did you go from there?
     21      A. Not at this moment, I wasn't.              21          A. I think I went to Wal-Mart.
     22      Q. Okay. And when did you get the job as a    22          Q. Okay.
     23   substitute teacher?                              23          A. And I worked there 2015.
     24      A. I started working there August the 15th.   24          Q. It also mentioned you attended Belhaven?
     25      Q. And is it for the high school,             25          A. Yes.


                                              Page 7                                                      Page 9
      1   elementary, secondary?                            1         Q. What kinds of classes did you take at
      2      A. Whoever calls.                              2      Belhaven?
      3      Q. You got it.                                 3         A. Just the regular classes.
      4          The School District?                       4         Q. Okay. And you had also worked -- after
      5      A. Yes.                                        5      you left the Facility, you worked at Angola?
      6      Q. Okay. What is your educational              6         A. Yes.
      7   background?                                       7         Q. Did you move over to Louisiana for that
      8      A. Graduated.                                  8      or commute?
      9      Q. Okay.                                       9         A. Commute. They had somewhere where you
     10      A. Two years of college.                      10      could stay.
     11      Q. Was that at Co-Lin?                        11         Q. I follow you.
     12      A. Yes.                                       12             And clearly, at Angola, you served as a
     13      Q. Did you get an associate's degree?         13      correctional officer there, too?
     14      A. I have -- yes.                             14         A. Yes.
     15      Q. And what's your associate's degree in?     15         Q. And then it looks like in 2019, you left
     16      A. Professional cooking.                      16      there and then started at the Facility in 2020?
     17      Q. Got it. And when did you graduate from     17         A. Yes.
     18   Co-Lin?                                          18         Q. Who hired you in 2020?
     19      A. 2003.                                      19         A. Sheriff Bailey.
     20      Q. Okay. And between --                       20         Q. Got it. All right.
     21      A. Yeah, '03.                                 21             And because you're here for all of the
     22      Q. And between 2003 -- well, when did you     22      depositions, you heard Ms. Smith. And she is your
     23   start at the -- well, let me rephrase that.      23      aunt?
     24          Was there more than one occasion when     24         A. Yes.
     25   you worked for the Facility?                     25         Q. Is that from your mother's side or


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      1   father's side?                                         1         Q. That's where I was going to ask you.
      2       A. Mother.                                         2      You hit the nail on the head.
      3       Q. Okay. And how much were you -- when             3             Your position was to sit at a console,
      4   December '23 came around, how much were you making     4      and the tower might have been where the cameras
      5   as a correctional officer?                             5      were located --
      6       A. $9.                                             6         A. Yes.
      7       Q. And there was some discussion, because          7         Q. -- and looking out? And your position
      8   I've talked to the sheriff, about -- was there a       8      was to look at the cameras and basically see what
      9   pay raise in the month or two before, if you           9      was going on around you?
     10   recall?                                               10         A. Yes.
     11       A. I don't recall.                                11         Q. And look for something unusual that
     12       Q. Okay. Do you ever remember any, like,          12      might indicate someone was trying to throw
     13   he gets everybody together and sometimes --           13      something in or someone was trying to get out?
     14   because I'm military. You get the whole team          14         A. Yes.
     15   together, from the junior guy to the most senior      15         Q. If you saw something, what would you do?
     16   guy and say hey, here's what we're doing, in          16         A. I notified my supervisor.
     17   general. I wanted to see if you ever recall a         17         Q. Were you on -- because as I see the
     18   conversation that you may have heard from the         18      organizational chart that Carroll brought in,
     19   sheriff where he's like, look, I need y'all to do     19      there's an A shift and a B shift?
     20   everything you can to be behind because I'm in the    20         A. Yes.
     21   legislature trying to -- or Sean Tindall, trying      21         Q. What was your shift?
     22   to get money on a per diem basis for the inmates      22         A. I'm thinking it was B shift.
     23   so I can pay you more. Do you ever remember any       23         Q. Fair enough.
     24   conversations like that?                              24         A. No, A shift.
     25       A. Yes, he had a mandatory meeting for            25         Q. That's all right. We're going to get


                                                 Page 11                                                     Page 13
      1    that.                                                 1      help. And frankly, that's okay, too.
      2        Q. And what did he say?                           2         A. A shift.
      3        A. I'm not for sure. I wasn't paying              3         Q. Now, and who was your supervisor for A
      4    attention.                                            4      shift?
      5        Q. Was it something like that?                    5         A. Terrell Walker.
      6        A. Yes.                                           6         Q. And he would have been a sergeant,
      7        Q. Fair enough.                                   7      correct?
      8           And did you ever hear what was the             8         A. Yes.
      9    outcome of that was?                                  9         Q. And he, in turn, would have reported to
     10        A. No.                                           10      Ms. Smith?
     11        Q. All right. And you had -- I think you         11         A. Lieutenant, yes.
     12    said you started in 2020. Had you always -- from     12         Q. At the time, that would have been
     13    the time you began at the Facility through January   13      Lieutenant Smith?
     14    of '23, did you serve as a tower operator?           14         A. Yes.
     15        A. Yes.                                          15         Q. And then you heard your aunt kind of go
     16        Q. Okay. At the Facility, were you               16      up the chain of command there to --
     17    anything other than a tower operator?                17         A. Yes.
     18        A. No.                                           18         Q. -- you had a chief of security, but
     19        Q. Okay. And what does a tower operator          19      there was someone in between there. There was a
     20    do?                                                  20      captain?
     21        A. Tower operator will keep up what goes on      21         A. Yes.
     22    during that day, what truck come in, who come in     22         Q. Then a chief of security?
     23    and all that.                                        23         A. Uh-huh. (Affirmative response.)
     24        Q. Gotcha.                                       24         Q. And then a assistant warden or deputy
     25        A. And the counts.                               25      warden --


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      1       A. Yes.                                           1      inmate that said it. So he was like -- he said a
      2       Q. -- who was the office manager?                 2      lot of stuff I can't remember. And I -- I just
      3       A. Yes.                                           3      told him that if that's the case, I will quit
      4       Q. Then the warden?                               4      because I'm not fixing to have no one lying saying
      5       A. Yes.                                           5      that I received contraband. I never did, and I
      6       Q. And then the sheriff?                          6      had no incident of the contraband being thrown
      7       A. Yes.                                           7      over there since.
      8       Q. And we'll go ahead and we'll cover this        8          Q. Right.
      9   incident in January of '23. But I'll do this sort     9          A. I only heard it when he was there.
     10   of in a grab-bag way.                                10          Q. Right.
     11           Other than January 23rd of 2023, were        11          A. So, he never had the warden over there,
     12   there any other instance you recall where you were   12      he never had the deputy warden over there. Which
     13   involved in catching contraband coming over or       13      is what the handbook supposed to be -- supposed to
     14   seeing contraband come over, really anything         14      have a warden or a deputy warden in there, any
     15   relating to contraband?                              15      conversation dealing with a correctional officer.
     16       A. No.                                           16      No one was there but my auntie.
     17           MR. RHODES: Object to the form.              17          Q. And what did she say when you were
     18       Q. (By Mr. Carpenter) So where I'm getting       18      saying "I'm going to leave?"
     19   at is, this was really the only instant that you     19          A. She just told me don't quit my job
     20   recall where contraband was even asked about?        20      because I need it. I have kids.
     21       A. Yes.                                          21          Q. Gotcha. Okay.
     22       Q. Fair enough.                                  22              Was there -- because you were here when
     23           Tell me what happened in that                23      your aunt was saying and, furthermore, you were on
     24   conversation.                                        24      a different shift?
     25       A. Well, that conversation, I had a phone        25          A. Yes.


                                                Page 15                                                      Page 17
      1   call from one of his secretaries that he wanted to    1          Q. What was your shift that particular day?
      2   see me, which I was off that day, and what time to    2          A. A shift, which I was supposed -- I work
      3   be there. I was there. I called my auntie to let      3      on his side where the outside inmates come in at,
      4   her know that I was on my way there and could she     4      like -- I'd say, like, the street. That inmates
      5   be over there.                                        5      come in from the streets of if they bring someone
      6       Q. Right.                                         6      in. So, I was over on his side.
      7       A. He wasn't there. I had to wait on him.         7          Q. And what was your hours on that day?
      8       Q. Right.                                         8          A. 6:00 to 6:00.
      9       A. So, he did come. He went to his office,        9          Q. And that would be 6:00 a.m., 6:00 p.m.,
     10   I guess to talk to his secretary or whatever, and    10      day shift?
     11   he called me back to the back.                       11          A. Uh-huh. (Affirmative response.)
     12       Q. Okay.                                         12          Q. You would have been on tower the whole
     13       A. So my auntie had made it by then. So,         13      time?
     14   we both went back there. We sat down and he said     14          A. Yes.
     15   that -- how he put it -- that an inmate said that    15          Q. And you didn't see anything?
     16   I supposed to been -- I was supposed to get some     16          A. No, sir.
     17   contraband. And I was like, excuse me. And he        17          Q. Okay.
     18   was like, you supposed to have been receiving        18          A. Because before I get there, I have to do
     19   contraband for an inmate. And I told him -- my       19      a parameter check. Which the person that's in the
     20   exact word, that was a lie. He said that I've        20      office before I get there click the door, and I go
     21   been in his office several times. I told him I       21      to the back door, walk around the gate and make
     22   never been in your office several times. This the    22      sure that there's nothing, no contraband being
     23   first time ever being in your office.                23      throwed or anything found.
     24       Q. Right.                                        24          Q. Right.
     25       A. Like that. And he wouldn't tell me what       25          A. And I go back. And when she leave, I do


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      1   my routine what time I got there, no contraband,      1      way, and unless you sit there and shake it -- if
      2   everything was secured and all that.                  2      it's a soft drink like Sprite, you'd think it was
      3       Q. And the next day, if you had been              3      the real deal.
      4   working that day -- and you were off that day, the    4          A. Yes.
      5   following day, that is. But if you had been on,       5          Q. Is that kind of some of the things they
      6   you would have done a parameter walk-through?         6      would do?
      7       A. Yes.                                           7          A. Yes.
      8       Q. So if it had still been hanging on the         8          Q. Okay. But on this particular day, the
      9   wire somewhere --                                     9      day following you're being on the tower and being
     10       A. If the night shift haven't did theirs,        10      called in, none of these photographs were shown to
     11   yes.                                                 11      you?
     12       Q. Do you -- I think we'll make these            12          A. No.
     13   collective -- actually, we'll make this exhibit --   13          Q. Fair enough.
     14          MR. RHODES: The contraband?                   14              And so I know we had a discussion
     15          MR. CARPENTER: You sure can. Let me           15      between you and your aunt. So what came of it?
     16   show them to you first. And these are numbered,      16      To the best of your knowledge, what came of this
     17   too. It's just the first number is obscured by       17      investigation as to who threw the contraband over,
     18   the photograph, but it's 264 and then following.     18      and under whose watch this would have been?
     19          MR. RHODES: These will be four.               19          A. It would probably be on night shift.
     20          MR. CARPENTER: These will be four. And        20          Q. Okay. Did the sheriff say anything in
     21   I can number them too, Pages 264 to 273.             21      response when he learned -- because I understand
     22          (Exhibit 4 marked for identification.)        22      y'all told him, hey, this is a night shift thing
     23       Q. (By Mr. Carpenter) I just wanted to           23      not a day shift.
     24   see, Ms. McComb, if you had ever seen these          24          A. Yes.
     25   photographs before today?                            25          Q. Did he have a response?


                                                Page 19                                                      Page 21
      1       A. No, this is my first time ever seeing          1          A. I told him I was not on duty when it got
      2   these.                                                2      thrown. And the only thing he said, well, I was
      3       Q. Gotcha.                                        3      supposed to have received it.
      4          So let's see -- because you've got             4          Q. And that was based on an inmate?
      5   experience in looking at -- through the tower, do     5          A. Yes.
      6   these look like photo stills that would have been     6          Q. And you didn't know who?
      7   taken from a tower camera?                            7          A. No.
      8       A. Yes.                                           8          Q. Okay. And was anything else ever done
      9       Q. Okay. And again, since you worked there        9      with it?
     10   for quite sometime, and twice, what kinds of         10          A. No, I never heard anything else about
     11   things would inmates do to try to get stuff in       11      it.
     12   past y'all?                                          12          Q. Didn't get a writeup?
     13       A. They'll probably have cellphones up in        13          A. Didn't get a writeup.
     14   there that we don't know anything about. If they     14          Q. All right.
     15   bring, like, lunch trays over from the prison        15          A. Didn't get suspended or anything.
     16   side, they probably getting -- trying to get in      16          Q. Got it.
     17   through there, the inmates coming from off their     17             Now, back in '22, do you recall a
     18   jobs into the Facility.                              18      situation where you might have brought in a
     19       Q. Okay. And this, to me, because I've           19      hunting knife?
     20   seen this done before, actually with kids at         20          A. Yes.
     21   Co-Lin Community College is where we caught them,    21          Q. Okay. What happened?
     22   me and the assistant attorney general. They would    22          A. I was running late that day. My
     23   take vodka -- empty the water bottles out, pour      23      daughter's backpack ended up tearing, so I just
     24   the vodka in, screw the top back on real tight so    24      told her to get mine and to take the thing that's
     25   you'd think it came direct from the factory that     25      in the corner and just put all my stuff in it. I


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      1   didn't even look in to check to see what was in       1         A. No.
      2   it.                                                   2         Q. -- or did the officer tell you?
      3       Q. Gotcha.                                        3         A. Yes, the officer told me that.
      4       A. So, I did that and I left out the door.        4         Q. And who's the officer?
      5   So when I made it to work we are getting searched.    5         A. Officer Green. Anthony Green.
      6   So I just poured everything on the table, which I     6         Q. And what did he say to you?
      7   was the last one to come in. And I poured             7         A. That he need our help in putting his
      8   everything out on the table and it fell out. And      8      boss back in and Sheriff Bailey wants to know
      9   I said, oh, my God, I didn't know that was in it.     9      would I vote for him. And I told him no.
     10   The only thing my sergeant told me was take it       10         Q. When that conversation happened with the
     11   back to my truck. And that was it.                   11      Correctional Officer Green, was there anybody else
     12       Q. And other than just writing it up in          12      around?
     13   August of '22, that's all that ever happened?        13         A. No.
     14       A. Yes. I didn't know anything about a           14         Q. All right. Any other occasions like
     15   writeup.                                             15      that?
     16       Q. Got it. And it never happened again?          16         A. Not that I know.
     17       A. No.                                           17         Q. Fair enough. And when it says -- it
     18       Q. Okay. Fair enough.                            18      says, "Ms. McComb actively supported another
     19          So, we started with that. Now we'll           19      candidate other than Sheriff Bailey." And who was
     20   sort of go back through the documents and            20      that?
     21   different things. I'm going with this from the       21         A. Jones.
     22   complaint.                                           22         Q. Shawn Jones?
     23          It says prior to the primary election in      23         A. Yes.
     24   '23, Sheriff Bailey asked you if you were going to   24         Q. Okay. All right.
     25   vote for him and you said no, you were not going     25             And was he in the runoff by any chance?


                                                Page 23                                                      Page 25
      1   it vote for him.                                      1          A. Yes, I think, yes.
      2           When was that?                                2          Q. Fair enough.
      3       A. I can't even say exactly what day it           3             And what did you -- when you say
      4   was. But, I was at the store and he pulled up.        4      "actively support," because I'm familiar with city
      5   And he asked me was I was going to be on his team     5      campaigns and whatnot. Would that be road signs,
      6   to vote for him and I just told him no.               6      would that be door knocking or phone calls?
      7       Q. And you say the store?                         7          A. Road side.
      8       A. Shell station, gas station in Fayette.         8          Q. So you had a sign, and there it was?
      9       Q. I know where it is. Is that the only           9          A. No, I didn't have a sign. No, no road
     10   time that he ever asked you that?                    10      side.
     11       A. No. I seen him -- I think my tire had         11          Q. So, what did you do?
     12   got on a flat, and he was passing by. And he         12          A. On what?
     13   pulled over and -- to see did I need him, and I      13          Q. How did you support Shawn Jones?
     14   told him my husband was on the way. And he stayed    14          A. I just waited until vote time and just
     15   there until he come. But before he got there, he     15      voted for him.
     16   said like, now I need you for the vote. And I was    16          Q. Okay. I'll tell you where I was getting
     17   like, I'm not voting for you.                        17      at. Lots of folks will go door-to-door before a
     18       Q. All right. And on those two occasions         18      campaign, hey, can you vote for so-and-so, I'm
     19   it was him and you, basically?                       19      their friend or whatnot. But in your case, it was
     20       A. Yes.                                          20      you voted?
     21       Q. Did he do it a third time?                    21          A. Yes.
     22       A. He had his officer to call me out of the      22          Q. All right. And between these three
     23   tower to talk to me.                                 23      conversations, which were before the primary, and
     24       Q. Okay. Now, did you hear him say that to       24      the end of 2023, when you were not rehired, did
     25   the officer --                                       25      Sheriff Bailey ever mention this to you again?


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      1        A. No, never talked to again.                    1      unemployment -- or not unemployment -- workers'
      2        Q. Now, your aunt indicated that he was a        2      comp. Here's what I mean: You can be temporary
      3   little different when he learned what she was         3      totally disabled or you can be temporary partially
      4   doing. Do you recall his demeanor changing any?       4      disabled.
      5        A. Yes.                                          5         A. Partially disabled.
      6        Q. How did that happen?                          6         Q. And so, were you under restrictions
      7        A. I was at work. He comes in the tower.         7      during that period of time?
      8   He didn't speak.                                      8         A. Yes.
      9        Q. Okay.                                         9         Q. What were the restrictions?
     10        A. Which he supposed to come -- when he         10         A. No overhead activities, no lifting or
     11   come to the back, he's supposed to sign the book.    11      anything like that.
     12   And he didn't speak. And on another occasion, on     12         Q. Okay.
     13   a weekend we had visitation, he came -- he didn't    13         A. And no interact with the inmates.
     14   even come by the tower, which he's supposed to do    14         Q. Gotcha.
     15   when he's on the Facility and he come the back --    15             Which for an ordinary job, that wouldn't
     16   he has to sign that book. And he never did. He       16      be an issue. But for you, that was part of what
     17   went straight to the back to talk to the other       17      you had?
     18   officers back there about voting for him.            18         A. Yes, so that's how I end up being a
     19        Q. Okay. All right.                             19      tower operator.
     20           And I think we covered regarding work.       20         Q. Exactly.
     21   And between January of 2024, January 1, and when     21             And so during the period of time, at
     22   you ultimately started work as a substitute          22      least through August of 2015, you still had those
     23   teacher in August of 2015, did you work anywhere     23      restrictions from your work comp injury in Angola?
     24   else?                                                24         A. Yes.
     25        A. No.                                          25         Q. Okay. And Louisiana pays a little more


                                                Page 27                                                      Page 29
      1       Q. What kinds of things did you do to try         1     than Mississippi?
      2   to find work in that eight-month period?              2         A. Yes.
      3       A. Just went online, did applications.            3         Q. How much were they paying?
      4       Q. Okay. And while that was going on, did         4         A. Before I start, it was like 1900.
      5   you have some source of income like unemployment      5         Q. Gotcha.
      6   or something that you were drawing?                   6         A. But by me working, I had to turn in my
      7       A. No, I couldn't draw unemployment because       7     check stubs. So, they had to go from my check
      8   I had a lawsuit going on at the time. I had a         8     stub to -- and go from there. So most of the time
      9   lawsuit going on.                                     9     it was like 12.
     10       Q. Okay. I'm sorry. And what was the             10         Q. Right. So you were receiving -- you
     11   lawsuit, workers' comp?                              11     were receiving some compensation from Angola while
     12       A. Yes. I received workers' comp.                12     you were a tower operator?
     13       Q. Having done work comp for a while, was        13         A. Yes.
     14   there something -- and of course, about -- because   14         Q. And then once you left there in January
     15   you're receiving comp, you can't get unemployment    15     '24, you were getting more because at that point
     16   at the same time?                                    16     you --
     17       A. Yes.                                          17         A. Actually, it just stayed the same.
     18       Q. Yeah, I'm familiar. Okay.                     18         Q. Okay. Is there an attorney helping you
     19          And what was the workers' comp from?          19     in the Louisiana case?
     20       A. Angola injury.                                20         A. Yes.
     21       Q. Okay.                                         21         Q. What's his name, by chance?
     22       A. Shoulder injury.                              22         A. Brian Calvin.
     23       Q. Okay. And was the compensation that           23         Q. Has that case been resolved?
     24   you're receiving in Angola -- in Mississippi we      24         A. No, sir. It's ongoing.
     25   have all sorts of flavors, if you will, of           25         Q. Have you -- there's something in work


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      1   comp, me and Carroll would have heard this term       1      backaches, nervousness and loss of appetite, and
      2   before, maximum medical improvement. And what         2      then sleepless nights?
      3   that means is you've been treating for a year or      3          A. Yes.
      4   nine months, can be a week, and you got as good as    4          Q. Now, in terms of embarrassment and
      5   you're going to get. And the doctor will say come     5      humiliation, did anybody in the community ever
      6   back when you need to; but, otherwise, there's        6      tell you, what happened to you, how you come
      7   nothing more we can do. Do you know if you've         7      got -- what did you do wrong to get fired?
      8   gotten to that phase with your shoulder?              8          A. Yes.
      9      A. I just got through that phase.                  9          Q. Who was that?
     10      Q. Okay. That's usually when work comp            10          A. Friends, classmates.
     11   cases settle.                                        11          Q. Anyone in particular?
     12          And after December 31st of 2023, did          12          A. My sister, Kawana Smith, my cousin,
     13   Sheriff Bailey ever say anything to you about        13      Kimberly Barns, Auntie, Yolanda Smith and all of
     14   anything that happened at the Facility?              14      that.
     15      A. No, never talked to him.                       15          Q. And you told them, hey, it wasn't me.
     16      Q. All right. And other than him sending          16      It was the fact that Sheriff Bailey wanted his
     17   Correctional Officer Green to talk to you about,     17      political folks in there?
     18   hey, support him for election, did anybody else      18          A. Yes. Well, I just told them that I
     19   after the election mention anything to you about     19      didn't vote for him.
     20   Sheriff's not going to rehire you, Sheriff's         20          Q. And they believed you, right?
     21   upset?                                               21          A. Yes.
     22      A. Yes. I heard that a lot.                       22          Q. Fair enough.
     23      Q. Who was that?                                  23             Do you recall a reinstatement interview
     24      A. My husband actually told me three weeks        24      in October '23?
     25   before I was going to get fired. And how he know,    25          A. Yes.


                                                Page 31                                                      Page 33
      1    I do not know.                                       1          Q. What did Sheriff Bailey tell you in that
      2       Q. Was he living with you at the time?            2      interview?
      3       A. Yes.                                           3          A. That -- well, I was called over there.
      4       Q. All right. Because we've already               4      He asked me to sit down, and he just said that
      5    covered -- there was a note -- in fact, you had      5      he's not having no one that support him on his
      6    written a note as part of a grievance about what     6      team working for him, and what did I bring to the
      7    Mr. Green had said?                                  7      table.
      8       A. Uh-huh. (Affirmative response.)                8          Q. Did he mention his election?
      9       Q. And you might have to say yes or no            9          A. Yes.
     10    because she's going to throw something at us.       10          Q. What did he say specifically?
     11       A. Yes.                                          11          A. He was like on his team, voting for him,
     12       Q. So we've covered that?                        12      have his back and all that.
     13       A. Yes.                                          13          Q. Okay. So if I'm sitting here
     14       Q. Fair enough.                                  14      listening -- so if I'm hearing what you're telling
     15           Do you recall ever putting any of this       15      me, he basically said I'm not bringing anybody
     16    stuff on social media?                              16      back that didn't vote for me?
     17       A. No.                                           17          A. Yes.
     18       Q. Fair enough.                                  18          Q. Did you ask him about that?
     19           And you're indicating that you've had        19          A. No, sir.
     20    emotional distress?                                 20          Q. All right. Did you -- and so what was
     21       A. Yes.                                          21      your response at all, if anything?
     22       Q. And the physical pain and suffering           22          A. That I had his back.
     23    you're getting is relating to the distress?         23          Q. And in a general sense. Because what
     24       A. Yes.                                          24      I'm trying to get at is in October '23 the
     25       Q. All right. And that would be headaches,       25      election's over.


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      1       A. Uh-huh. (Affirmative response.) Yes.          1      doing -- I was cussing. I was not doing my job
      2       Q. But he also mentioned the past election       2      out of the tower or whatever.
      3   and the primary when he talked to you in October     3           Q. Okay.
      4   of '23?                                              4           A. Which I'm allowed to get up and go to
      5       A. Yes.                                          5      the restroom or go get food or something like
      6       Q. All right. And was he -- when you             6      that, or stretch my legs.
      7   interviewed with him in October of '23, was there    7           Q. Right.
      8   anyone in the room?                                  8              Did he ever write you up for it?
      9       A. No. It wasn't anything -- we had a            9           A. Later, I found out he did.
     10   interview. It wasn't anything pertaining to the     10           Q. Okay. And do you remember -- and the
     11   job, just what did I bring to the table.            11      way you put that, it makes it seem like -- and
     12   Everything was about his election.                  12      it's probably the case -- he didn't call you in
     13       Q. All right. Let me explore that. You          13      and give it to you?
     14   say he -- and I want to make sure I got the term    14           A. No.
     15   right, "what did I bring to the table"?             15           Q. He just submitted it up the chain of
     16       A. Yes.                                         16      command?
     17       Q. That's all he said?                          17           A. Yes.
     18       A. Yes.                                         18           Q. And no one in the chain went back down
     19       Q. Did he say what do you bring to the          19      to even ask you about it?
     20   table in regard to getting me reelected in four     20           A. No.
     21   years?                                              21           Q. To your knowledge, did anyone ever say
     22       A. No.                                          22      that affected your employment there?
     23       Q. Okay. Or -- but he also didn't say what      23           A. No.
     24   did you bring to the table in terms of your being   24           Q. Okay. So when you mentioned to the
     25   a tower operator?                                   25      Sheriff Bailey in October '23 there was something


                                               Page 35                                                      Page 37
      1      A. Yes, he said that. He just said what           1      wrong with your sergeant --
      2   did I bring to the table. That's it.                 2         A. Yes.
      3      Q. All right. So he didn't mention the            3         Q. -- what was his response?
      4   election when he said that -- used that phrase?      4         A. That we can't have that.
      5      A. No.                                            5         Q. Okay.
      6      Q. Or, for that matter, the job?                  6         A. And I was telling him the way he treated
      7      A. No.                                            7      the inmates there.
      8      Q. And what was your response to that             8         Q. Did he leave you with the impression in
      9   question?                                            9      your mind he was going to do something about that?
     10      A. I bring a lot to the table, that I'm          10         A. No.
     11   very strict at doing my job. I go by the handbook   11         Q. Because when he's saying "we can't have
     12   and the rules of the Facility.                      12      that," he's referring to we can't have you being
     13      Q. Got it. Okay.                                 13      harassed or --
     14      A. And he asked did I have any problem with      14         A. He didn't put it in specific way. He
     15   anybody at the Facility that I work with.           15      just said we can't have that.
     16      Q. Fair enough. And what was your                16         Q. All right. But he didn't give any
     17   response?                                           17      specific plans as to what he was going to do?
     18      A. Yes, the sergeant.                            18         A. No.
     19      Q. Okay. And who was the sergeant?               19         Q. We're now going into the medical
     20      A. Sergeant Terrell Walker.                      20      records, and that's the last phase.
     21      Q. And what was Sergeant Walker -- he was        21         A. Okay.
     22   your supervisor?                                    22         Q. So we're shooting for 10 minutes.
     23      A. Yes.                                          23             (Off the record conversation.)
     24      Q. And what was he doing?                        24         Q. (By Mr. Carpenter) This one is going to
     25      A. Making false accusations, saying I was        25      be Exhibit 5, which will be the medical records


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      1   of --                                                1          Q. Okay. Then, we're going to move ahead
      2          MR. RHODES: You didn't put the pictures       2      four years. This is now January of '24. It
      3   in, did you?                                         3      appears -- and this is with a man named Germany
      4          MR. CARPENTER: Yes, they're four.             4      King and he's a nurse at the --
      5          (Exhibit 5 marked for identification.)        5          A. Yeah, she's a nurse.
      6       Q. (By Mr. Carpenter) This will be five.         6          Q. She's a nurse. Okay.
      7   We're keeping up with the numbers because she's      7             And it looks like here that -- do you
      8   got to keep up with the numbers.                     8      recall her doing a depression screening for you on
      9          This is going to be a reference Page 110      9      January the 23rd?
     10   of 226 to 113 of 226. And what we're doing here,    10          A. January the what?
     11   is I'm just setting sort of a pre -- what your      11          Q. January 23rd. I'll let you look at
     12   health condition was like before December of '23.   12      this.
     13          This is a medical note from January of       13          A. Yes, I think that's what I see.
     14   2020. It indicates that you were having an issue    14          Q. And in this case, if you look at the
     15   with shoulder pain?                                 15      first page, it indicates that she's got it marked
     16       A. Uh-huh. (Affirmative response.)              16      for severe depression?
     17       Q. They use shoulder pain. But this would       17          A. Uh-huh. (Affirmative response.)
     18   have been your right shoulder?                      18          Q. Is that correct?
     19       A. Yes.                                         19          A. Yes.
     20       Q. And that's related to your Angola            20          Q. Now -- and at this point, this is just
     21   injury?                                             21      asking you what you think, you know, about it.
     22       A. No, that's related to a Wal-Mart injury.     22      Was this related to the job?
     23       Q. Okay. So, what happened in that injury?      23          A. Yes.
     24       A. Tore my rotator cuff.                        24          Q. Okay. And what did Nurse King suggest?
     25       Q. Was that on the job?                         25          A. She referred me to -- I can't think of


                                               Page 39                                                      Page 41
      1      A. Yes.                                           1      the woman name. I had to talk to someone in
      2      Q. Was that in Mississippi?                       2      Jackson.
      3      A. Yes.                                           3          Q. Okay. And we'll get that. It also
      4      Q. Are you getting comp for that?                 4      indicated -- it says reason for appointment was
      5      A. Yes.                                           5      lower back pain?
      6      Q. Because I would think with a torn              6          A. Yes.
      7   rotator cuff, that would be --                       7          Q. Where was that coming from?
      8      A. Yeah.                                          8          A. My lower back pain?
      9      Q. Did you get -- has that been resolved?         9          Q. Uh-huh. (Affirmative response.)
     10      A. Yes.                                          10          A. Lower back pain is something that I
     11      Q. And you got what we call maximum medical      11      already had.
     12   on that one?                                        12          Q. And she was prescribing medication, pain
     13      A. Yes.                                          13      medication for that?
     14      Q. Gotcha. Okay.                                 14          A. Yes.
     15          And in January of 2020, it appears --        15          Q. And it indicates here that -- because,
     16   again, because it's Jefferson Health, they do a     16      you know, you were here with your aunt, and she
     17   depression screening. Do you recall getting those   17      had eating -- you know, that she didn't eat as
     18   screenings or anybody asking you questions about    18      much.
     19   depression?                                         19          A. Yes.
     20      A. They asked me questions about it.             20          Q. But Nurse King indicates that you were
     21      Q. And in this case, it indicates you were       21      not having an eating disorder, loss of appetite.
     22   fine. I mean, you were what they call 0, which is   22      Is that correct?
     23   not depressed. Does that sound right for January    23          A. Yes.
     24   '20?                                                24          Q. But you were admitting stressors?
     25      A. Yes.                                          25          A. Yes.


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      1       Q. But denying suicidal thoughts?                 1      this case, she had indicated adjustment disorder.
      2       A. Yes.                                           2      Now, we're doctors, me and Carroll, but we're not
      3       Q. And at that time you were married?             3      them doctors. But adjustment disorder, just
      4       A. Yes.                                           4      because we've done enough of this, would be
      5       Q. And then, this is Page 46 of 226. And          5      adjusting to a life change, like loss of job. It
      6   that's just a followup note from Nurse King. And,     6      could be a loss of spouse or anything like that.
      7   essentially, you were mentioned that you would be     7          A. Okay.
      8   talking to someone in Telehealth?                     8          Q. Did she indicate that she had diagnosed
      9       A. Uh-huh. (Affirmative response.)                9      you with adjustment disorder?
     10       Q. Now, I know what Telehealth is and            10          A. No.
     11   Carroll knows what it is. But if I'm                 11          Q. Fair enough.
     12   understanding this correctly, Ms. McComb,            12             Did she prescribe any medication?
     13   Telehealth would mean you would come here to         13          A. No.
     14   Fayette to an office?                                14          Q. Okay. Fair enough.
     15       A. Yes.                                          15             And during this period of time --
     16       Q. And you would turn on a nice computer         16      because this would have been when you were
     17   with a -- with, I want to say, a camera?             17      unemployed --
     18       A. Yes.                                          18          A. Yes.
     19       Q. And on the other end of that would be a       19          Q. -- were you at home?
     20   nurse in Jackson?                                    20          A. Yes.
     21       A. Yes.                                          21          Q. Okay. Did you have children at home?
     22       Q. How long would those sessions last?           22          A. Yes.
     23       A. No more than about 10, 15 minutes.            23          Q. And so, you were looking at after them?
     24       Q. And would that be with a lady named           24          A. Yes.
     25   Nurse April Mitchell?                                25          Q. And it looks like your husband -- was he


                                                Page 43                                                     Page 45
      1       A. Yes.                                           1      working at the time?
      2       Q. Now, this one I'm going to show is Pages       2          A. Yes.
      3   39 and 40. And this is part of your Jefferson         3          Q. And did he have like a day job?
      4   records. But what's happened is, UMMC kicks those     4          A. Yes.
      5   records back to Jefferson so that if you ever come    5          Q. And so, essentially, you were taking
      6   in with -- a bus hits you something like that, all    6      care of everybody?
      7   your records are right there for somebody to look     7          A. Yes.
      8   at.                                                   8          Q. And still recovering on shoulders?
      9          So, in this case, it indicates on              9          A. Yes.
     10   March the 5th of 2024 -- and I'll let you take a     10          Q. Okay. Now, I apologize for getting this
     11   look at that -- there appears to be a depression     11      out of order, because I tried to put this in
     12   screening from Nurse Mitchell where she's saying     12      chronology. But this one -- this one is from
     13   that there's no depression or anxiety. And here's    13      January the 30th of 2024.
     14   part of that, too. I need to give this to you.       14             Do you recall talking to a Vanessa King
     15   My fault. This is the specific depression            15      at Jackson Health?
     16   screening that she did. Do you recall her            16          A. Vanessa King?
     17   mentioning anything about the depression             17          Q. Yeah, her name's up at the top.
     18   screening?                                           18          A. I'm thinking I did. I don't know her
     19       A. Yes.                                          19      name.
     20       Q. What did she say as to how you were           20          Q. Here's why I was asking, because this
     21   doing in March of '24?                               21      was just -- in other words, to put it bluntly, it
     22       A. She just asking me questions: How was         22      was called telephone encounter and that's all it
     23   my day, how -- do I feel depressed, smoking or       23      was called. So, in other words, what Ms. King is
     24   anything, do I feel like suicidal. That's it.        24      saying, you called and this is a description of
     25       Q. All right. And it looked like that in         25      what you said. And it was, "patient and her


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      1   husband are both unemployed."                         1         A. What, my shoulder?
      2      A. Yes.                                            2         Q. Oh, no. Your feelings. Your anxiety
      3      Q. So your husband was unemployed in               3      and depression.
      4   January?                                              4         A. Yes.
      5      A. Yes.                                            5         Q. If you had to say today, about what time
      6      Q. Did he find work by March?                      6      would that have been?
      7      A. No.                                             7         A. Today, around about -- I been two, three
      8      Q. All right. And it says, "She is                 8      when I got -- before I take my -- after I take my
      9   currently going through the process of suing past     9      medicine.
     10   employers."                                          10         Q. Does it feel as bad, in terms of anxiety
     11      A. Yes.                                           11      and depression, today as it did, let's say, on
     12      Q. So that would have been your comp              12      January the 3rd of '24?
     13   claims?                                              13         A. No.
     14      A. Yes.                                           14         Q. When did the mood start lightening?
     15      Q. And, for that matter, what was going on        15         A. After I had started taking my
     16   with the sheriff?                                    16      medication.
     17      A. Yes.                                           17         Q. And when was that?
     18      Q. And then there was the issue about             18         A. Let's see. I don't know exactly what
     19   affording medicines. Do you know the specific        19      day they gave it to me. Well, the first time they
     20   medicines that you had been recommended that you     20      gave it to me, I had my ups and downs.
     21   couldn't get because of money?                       21         Q. Okay. Was it before the middle of the
     22      A. No, because I'm thinking they just --          22      summer?
     23   when I went, they just add it to my Medicaid.        23         A. I think it was really after the summer.
     24      Q. Gotcha.                                        24         Q. And who is "they?" You say they gave it
     25      A. And I don't know why.                          25      to me.

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      1       Q. Okay. And then it was, "Patient says           1         A. When they prescribed it to me,
      2   she's applied for jobs but hasn't heard anything."    2      Dr. Mitchell.
      3       A. Yes.                                           3         Q. And she was with Telehealth?
      4       Q. By January 30th, where had you applied?        4         A. Yes.
      5       A. January 30th, I applied at the Dollar          5         Q. Got it. Okay. All right.
      6   Store in Port Gibson, Pizza Hut. That's about it      6             Now, I'm going to -- and this -- I don't
      7   that I can think of. There's more.                    7      know mind and you don't mind, because we talked
      8       Q. Is there a job center, a Win Center or         8      about it.
      9   anything like that?                                   9         A. Yes.
     10       A. Yes, in Vicksburg, Mississippi.               10         Q. We're going into something that
     11       Q. Did you go there?                             11      everybody knows, but I wasn't going to do this
     12       A. No.                                           12      without your say so.
     13       Q. Do they cover this area as well, if you       13         A. Okay.
     14   know?                                                14         Q. Because it concerns a psychiatric
     15       A. Yes.                                          15      progress note, which sounds like a psychiatrist
     16       Q. All right. Now, I'm going -- like I           16      but it's really April Mitchell writing this down
     17   say, we're jumping ahead.                            17      and she's a nurse prac. So, what I wanted to ask
     18          With your anxiety and depression, was         18      about is -- okay. It indicates that you had had
     19   there any time that it was lightened. You know,      19      depression and anxiety?
     20   say, for example, you know with shoulder pain, it    20         A. Yes.
     21   hurts real bad the first few months, real bad        21         Q. Fair to say you had not had it before
     22   after the rotator cuff surgery. But, in time,        22      you left the Facility?
     23   things get better, in terms of physical pain. I'm    23         A. Yes.
     24   kind of using that analogy with your anxiety and     24         Q. Okay. But afterwards, you had?
     25   depression. Was there a time when it got better?     25         A. Yes.


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      1      Q. And says, "From this, she was last seen         1          Q. I'm thinking of the judge in Claiborne
      2   in August." Now, the date of the visit on this is     2      County. I don't think she'd put up with this.
      3   January of '25. Do you recall seeing April            3      But, in any case, what happened following that?
      4   Mitchell between August of '24 and January '25 or     4          A. Nothing. I went to a hearing, and that
      5   does that --                                          5      was it. They say I didn't have enough evidence.
      6      A. Yes.                                            6      It wasn't enough evidence.
      7      Q. When was the last time you saw her?             7          Q. I've been doing civil for 20 -- for 30
      8      A. I think it was April 7th, my last time          8      years and did the death penalties at the Supreme
      9   seeing her.                                           9      Court --
     10      Q. This year?                                     10          A. Actually they had taken my shirt that
     11      A. Yes.                                           11      had the bullet holes in it, but they said wasn't
     12      Q. Did you see her between August of '24          12      enough evidence.
     13   and January of '25?                                  13          Q. And this is only somewhat related, but
     14      A. Yes. I'm trying to see the days.               14      in a way it kind of is because I'm -- did your
     15      Q. Okay.                                          15      husband testify on your behalf and say --
     16      A. Because I have like -- they give me            16          A. No, he wasn't there.
     17   appointments and stuff like that. But I'm not        17          Q. So you were there, you had the bullet
     18   sure what exact day and month between there.         18      holes --
     19      Q. Okay. And it indicates, she said               19          A. Uh-huh. (Affirmative response.)
     20   patient reports recent traumatic events where you    20          Q. And you had, obviously, your medical
     21   were shot on October 8th.                            21      records?
     22      A. Yes.                                           22          A. Yes. They didn't show none of that. It
     23      Q. "Walked in on husband and female having        23      was a hearing just for, I guess, to go see would
     24   an affair."                                          24      it go to trial.
     25      A. Yes.                                           25          Q. Okay. And sort of the related question,

                                                Page 51                                                      Page 53
      1       Q. And she shot at you?                           1      last one on that, was it a justice court, like
      2       A. Yes.                                           2      a -- or was it a city court that you went to or
      3       Q. And it says, "superficial gunshot wound        3      was it --
      4   to the right thigh."                                  4          A. Was it city? It's city. Well, it was a
      5       A. Yes.                                           5      justice because it happened outside the city.
      6       Q. What happened?                                 6          Q. Right. I follow you. Because sometimes
      7       A. We got into an altercation in the house.       7      justice courts in counties will handle the
      8   And whatever, me and the girl got to fighting or      8      preliminary hearings and then they, in turn,
      9   whatever. I ended up kicking her out of my house,     9      decide whether it goes to a grand jury. Or the
     10   went out -- well, she supposed to have been left     10      district attorney will take it. I would say, if
     11   the yard. But she had pulled out -- but when I       11      this ever happens on the Coast, let me know
     12   was going out there because my daughter was out in   12      because I know the district attorney and this will
     13   the car, to go check on her, and that when she       13      probably not get shoved under a rug. But, in any
     14   started shooting at me.                              14      case...
     15       Q. Gotcha.                                       15              Okay. And so it indicated that --
     16          And fortunately, it was a graze?              16      that's -- it was saying you had not taken
     17       A. Yes.                                          17      prescribed medications, Lexapro and Trazodone.
     18       Q. What happened after that?                     18          A. No.
     19       A. I end up going to the police station. I       19          Q. And it said couldn't find your medicine.
     20   ended up calling 911, going to the emergency room,   20      Do you remember telling her that?
     21   getting it cleaned up and going to the police        21          A. Yes.
     22   station to file charges.                             22          Q. And you took it consistently for the
     23       Q. Okay. And which position station did          23      first month after prescribed, but since
     24   you go to?                                           24      discontinued use?
     25       A. Claiborne County Police Department.           25          A. Uh-huh. (Affirmative response.)


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      1       Q. Do you know why?                              1          Q. Okay. All right.
      2       A. I just forgets to take it.                    2            When is your next app -- I think you
      3       Q. Were you feeling a little better at the       3      said you might have another appointment with Nurse
      4   time?                                                4      Mitchell?
      5       A. No. I needed it, but guess I just -- I        5          A. Yes.
      6   tried to find it, that what I did and I couldn't.    6          Q. Do you know when that is?
      7       Q. Because, in fact, and I think we would        7          A. I'm not for sure, but it's coming up
      8   all agree, that you needed -- she expresses need     8      soon. The last time was April the 7th.
      9   to resume her medication, saying I need my           9          Q. All right. Going to sort of the
     10   medicine because I'm about to have a nervous        10      aftermath of the October '24 incident. Are you
     11   breakdown.                                          11      currently separated from your husband?
     12       A. Yes.                                         12          A. No.
     13       Q. Absolutely.                                  13          Q. What happened following this?
     14           And not attempted to reach out for          14          A. I just put him out for a couple of
     15   refills. And then it says that --                   15      months.
     16           Okay. What did Nurse Mitchell say in        16          Q. All right. And so he's living back in
     17   response to what you were saying?                   17      the home?
     18       A. Just asked me was I taking my                18          A. Yes.
     19   medication. I told her I had misplaced it and       19          Q. Okay. And has he found work?
     20   couldn't find it, and she prescribed me more.       20          A. No. The job he was on, he ended up
     21       Q. Got it.                                      21      hurting his back, almost fell off the top of the
     22       A. And I think it's up to six months when I     22      roof.
     23   go back to see her. I've got enough to last me      23          Q. Is he receiving some sort of worker's
     24   until I go back to see her.                         24      comp benefits?
     25       Q. And when's the next time you're going to     25          A. No, because that's the private owner.


                                               Page 55                                                      Page 57
      1   see her?                                             1      He was getting cash.
      2       A. Six months. I think it will be in --          2         Q. I follow you.
      3   I'm not for sure what date. I got it in my house.    3            And is he being treated for, basically,
      4       Q. And this last medical note. This is           4      his back pain?
      5   back with Nurse Turner here in Jefferson Health.     5         A. He went to the doctor last month. They
      6   And this -- and by the way, just so we've got the    6      gave him some pain pills and stuff like that.
      7   notes. These notes from Nurse Mitchell we just       7      That's about it.
      8   talked about are 157 to 160.                         8         Q. Is he looking at applying for Social
      9          And then this, being the last notes, are      9      Security Disability?
     10   Page 2 to 9 of 226. And it looks like this is       10         A. No.
     11   March 7th, 2025. And the depression screening in    11         Q. All right. And does he have plans to
     12   this case is indicated to be 0. And what I wanted   12      return to work or is it sort of when things get
     13   to ask you about is, do you recall talking about    13      better?
     14   anxiety or depression with Nurse Turner?            14         A. When it get better.
     15       A. Yes.                                         15         Q. So, at this moment, between what you
     16       Q. What did you tell her?                       16      might be receiving from Louisiana Workers' Comp
     17       A. That I was on medication for it. And         17      and substitute teaching work, that's the family
     18   she asked me the -- and I couldn't think of the     18      income right now?
     19   name of it, but I said I talked to -- I called a    19         A. Yes. And I get that every month. Once
     20   therapist in Jackson.                               20      a month.
     21       Q. Right.                                       21         Q. And how many children do y'all have?
     22       A. And that was it.                             22         A. We have three together.
     23       Q. Okay. Did she ask you if you were            23         Q. Do you have other children that live
     24   feeling down or normal or anything like that?       24      with you?
     25       A. No.                                          25         A. No. I just have my two daughter's at


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      1   the moment.                                           1      back and voting for him and supporting him in the
      2       Q. I follow you. Fair enough. I think             2      election.
      3   that's all I have.                                    3         Q. And in the meeting that you had with him
      4          MR. CARPENTER: Carroll, do you have any        4      in October of 2023, was that about reapplying?
      5   questions?                                            5         A. Yes, our application that we did,
      6          MR. RHODES: Just a couple.                     6      because that was my first time ever doing a
      7   EXAMINATION BY MR. RHODES:                            7      reapply application, ever, for a job that I
      8       Q. Ms. McComb, you testified about a              8      already had.
      9   mandatory meeting where the Sheriff talked to         9         Q. Did he mention anything about voting in
     10   y'all about trying to get a pay increase for you?    10      that meeting?
     11       A. Yes.                                          11         A. Yes. He was -- when I got there, he was
     12       Q. Do you recall any other mandatory             12      like -- he was going over applications and seeing
     13   meetings that the Sheriff might have called?         13      who he was going to keep and see who's here for
     14       A. No, sir.                                      14      him and have his back, supporting him in voting in
     15       Q. Did he ever have a mandatory meeting of       15      the election and all that.
     16   all employees where he talked about supporting him   16         Q. Okay. That's all I have.
     17   for reelection?                                      17      EXAMINATION BY MR. CARPENTER:
     18       A. Yes.                                          18         Q. And in that reemployment interview in
     19       Q. Do you recall when that --                    19      October, were you and him the only people in that
     20       A. It was that same meeting.                     20      room?
     21       Q. Oh, in that same meeting?                     21         A. Yes.
     22       A. Yes.                                          22         Q. And in the meeting which started with
     23       Q. So he talked about more than just --          23      the pay raise, I'd like to know what he
     24       A. Yes. He talked about more than just           24      specifically said regarding the election.
     25   getting a raise and everything else. He talked       25         A. That he need everyone to go out and


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      1   about voting and having his back and he need          1      support him and vote for him in reelection.
      2   people on his team who was going to be there for      2         Q. And when was that meeting?
      3   him.                                                  3         A. I'm not for sure when that meeting -- I
      4       Q. Could you tell us what he said about           4      think that's the same meeting. The mandatory
      5   voting for him and --                                 5      meeting, October, I think. I don't know. That's
      6       A. He wanted us to go to the poll and vote        6      the same meeting I'm talking about.
      7   for him and get him back into the sheriff office.     7         Q. Sometime in '23?
      8       Q. That was in that same meeting?                 8         A. Yeah.
      9       A. Yes.                                           9         Q. That's about what you know --
     10       Q. Do you recall the month that meeting          10         A. Yes.
     11   was? Was it before the primary election?             11         Q. -- sometime that year?
     12       A. I'm not for sure.                             12         A. Yes.
     13       Q. But he did ask all the employees?             13         Q. And who was at that meeting that you
     14       A. Yes.                                          14      recall, other than the Sheriff? Because if it's a
     15       Q. And why did he say the meeting was            15      mandatory meeting, I'm thinking everybody.
     16   mandatory?                                           16         A. Yes, everybody had to be there.
     17       A. Because it was supposed to have been          17         Q. So who did you know that was there?
     18   about us a raise. But he said one thing about a      18         A. Ms. Sanders, Blake, Lieutenant Elliot,
     19   raise, and that was it. Everything else about        19      Ms. Diane Williams, Officer January, Felton,
     20   supporting him and having his back and being there   20      Warden Kaho, Warden Doss, Captain Deveaux,
     21   for him.                                             21      Sergeant Boyd, Officer Mims. Mostly everybody
     22       Q. And being there for him --                    22      that worked there.
     23       A. As going out and vote for him and that        23         Q. A and B shift?
     24   sort of thing. Nothing about the Facility or         24         A. Yes. A, B, C, and D.
     25   anything. It was all about coming in and have his    25         Q. And what time of day was it?


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      1            A. It started about 2:00, 3:00.                      1              CERTIFICATE OF COURT REPORTER
      2            Q. Was that during -- that doesn't appear            2              I, Robin G. Burwell, Court Reporter and
      3        to be during a shift change, that is?                    3      Notary Public, in and for the State of Mississippi,
      4            A. No, that was during a shift. No, it               4      hereby certify that the foregoing contains a true
                                                                        5      and correct transcript of the testimony of SHAQUITA
      5        wasn't shift change.
                                                                        6      MCCOMB, as taken by me in the aforementioned matter
      6            Q. Right. It was during A shift, but not             7      at the time and place heretofore stated, as taken by
      7        when A to B, because that would be 6:00 a.m.,            8      stenotype and later reduced to typewritten form
      8        6:00 p.m.?                                               9      under my supervision by means of computer-aided
      9            A. Yeah.                                            10      transcription.
     10            Q. Got it.                                          11              I further certify that under the authority
     11               Okay. That's all I got.                          12      vested in me by the State of Mississippi that the
     12                (Time Noted: 11:21 a.m.)                        13      witness was placed under oath by me to truthfully
     13                  SIGNATURE/NOT WAIVED                          14      answer all questions in the matter.
     14                                                                15              I further certify that, to the best of my
     15        ORIGINAL: MR. CARPENTER, ESQ.                           16      knowledge, I am not in the employ of or related to
     16        COPY: MR. RHODES, ESQ.                                  17      any party in this matter and have no interest,
     17                                                                18      monetary or otherwise, in the final outcome of this
                                                                       19      matter.
     18
                                                                       20              Witness my signature and seal this the
     19
                                                                       21      30th day of April, 2025.
     20                                                                22
     21                                                                23                    _______________________
     22                                                                                      ROBIN G. BURWELL, #1651
     23                                                                24                    CRR, RPR, CCR
     24                                                                        My Commission Expires:
     25                                                                25      April 6, 2029


                                                            Page 63
      1             CERTIFICATE OF DEPONENT
      2   DEPONENT: SHAQUITA MCCOMB
          DATE: April 18, 2025
      3   CASE STYLE: SMITH, ET AL vs. JEFFERSON COUNTY,
          MISSISSIPPI, ET AL
      4   ORIGINAL TO: THOMAS L. CARPENTER, ESQ.
                 I, the above-named deponent in the
      5   deposition taken in the herein styled and numbered
          cause, certify that I have examined the deposition
      6   taken on the date above as to the correctness
          thereof, and that after reading said pages, I find
      7   them to contain a full and true transcript of the
          testimony as given by me.
      8          Subject to those corrections listed below,
          if any, I find the transcript to be the correct
      9   testimony I gave at the aforestated time and place.
          Page Line                   Comments
     10   ____ ____ _______________________________
          ____ ____ _______________________________
     11   ____ ____ _______________________________
          ____ ____ _______________________________
     12   ____ ____ _______________________________
          ____ ____ _______________________________
     13   ____ ____ _______________________________
          ____ ____ _______________________________
     14   ____ ____ _______________________________
          ____ ____ _______________________________
     15   ____ ____ _______________________________
          ____ ____ _______________________________
     16   ____ ____ _______________________________
     17
     18        This the ____ day of _________, 2025.
     19                      ____________________
                             SHAQUITA MCCOMB
     20   State of Mississippi
          County of ______________
     21
             Subscribed and sworn to before me, this the
     22   _____ day of _____________, 2025.
     23   My Commission Expires:
     24   _____________________ _______________________
     25                     Notary Public



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